                      Case 1:21-cr-00004-CKK Document 1 Filed 01/07/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                           )
                             v.                                      )
                   Lonnie Leroy Coffman                              )      Case No.
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 06, 2021              in the county of                                      in the
                       District of            Columbia           , the defendant(s) violated:

            Code Section                                                       Offense Description
 26 U.S.C. 5861(d)                               Possession of unregistered firearm (destructive device)


 D.C. Criminal Code 22-4504(a)                   Carrying a pistol without a license




         This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT




         ✔ Continued on the attached sheet.
         u



                                                                                                Complainant’s signature

                                                                                 Lawrence Anyaso, United States Capitol Police
                                                                                                 Printed name and title
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Telephone                                        VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 
                                                                                                            G. Michael Harvey
                                                                                                            2021.01.07 14:13:16 -05'00'
Date:             01/07/2021
                                                                                                   Judge’s signature

City and state:                           Washington, DC                           G. Michael Harvey, U.S. Magistrate Judge
                                                                                                 Printed name and title
